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MINUTE ENTRY
VITTER, J.
JULY 6, 2022
JS10, 1:00
                     UNITED STATES DISTRICT COURT

                     MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL.                               CIVIL ACTION

VERSUS                                           NO. 21-242-WBV-SDJ

LOUISIANA STATE UNIVERSITY, ET AL.


        TELEPHONE STATUS CONFERENCE REPORT and ORDER
      On July 6, 2022, at the Court’s request, the Court held a Telephone Status

Conference in this matter.

      PRESENT:

            Catherine E. Lasky, Elizabeth K. Abdnour, Endya Hash, Karen
            Truszkowski
            Counsel for Plaintiffs, Abby Owens, Kennan Johnson, Samantha
            Brennan, Elisabeth Andries, Jade Lewis, Calise Richardson, Ashlyn
            Robertson, Corinn Hovis, Sarah Beth Kitch, Jane Doe, Other
            Unidentified Does

            Susan W. Furr, Molly C. McDiarmid
            Counsel for Defendant, Board Of Supervisors for Louisiana State
            University and Agricultural and Mechanical College

            Dennis J. Phayer
            Counsel for Defendant, Jennie Stewart

            Darren A. Patin
            Counsel for Defendant, Verge Ausberry

            John C. Walsh, Mary A. White, Jeffrey K. Cody
            Counsel for Defendant, Miriam Segar

            William F. Large
            Counsel for Defendant, Jonathan Sanders
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      During the conference, the Court discussed with counsel the status of the case

and Plaintiffs’ Motion to Amend Scheduling Order, wherein Plaintiffs seek a new

expert report deadline and to continue the trial date until May 8, 2023 (R. Doc. 235).

Defendants oppose the Motion. (R. Doc. 237). The Court allowed counsel for both

sides to address the four factors that this Court must consider in determining

whether good cause exists under Fed. R. Civ. P. 16 to amend the Amended Scheduling

Order (R. Doc. 234) with respect to Plaintiffs’ expert report deadline and the March

13, 2023 trial date. See, Meaux Surface Protection, Inc. v. Fogleman, 607 F.3d 161,

167 (5th Cir. 2010). After hearing from counsel, the Court weighed the four factors,

found that good cause exists under Rule 16 to amend the Amended Scheduling Order

with respect to those two deadlines, and issued an oral Order GRANTING

Plaintiffs’ Motion. In consultation with counsel, the Court reset the jury trial for

June 26, 2023, and reset the Plaintiffs’ expert report deadline for September 1,

2022. The Court also issued an oral Order requiring Plaintiffs to disclose to the

Defendants the names of all of their experts by July 20, 2022. The remaining

deadlines set forth in the Court’s Amended Scheduling Order remain in effect.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiffs’ Motion to Amend Scheduling

Order (R. Doc. 235) is GRANTED. The Amended Scheduling Order (R. Doc. 234) is

AMENDED with respect to the Plaintiffs’ expert report deadline, which is RESET

for September 1, 2022, and with respect to the jury trial, which is RESET for

Monday, June 26, 2023 at 8:30 a.m.         The Amended Scheduling Order is also
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AMENDED with respect to the Final Pretrial Conference date, which is RESET for

Thursday, June 1, 2023 at 10:00 a.m. in Courtroom C352 in the United States

District Court for the Eastern District of Louisiana.

      IT IS FURTHER ORDERED that Plaintiffs shall disclose to the Defendants

the names of all of their experts by Wednesday, July 20, 2022, as discussed during

the conference.

      New Orleans, Louisiana, July 6, 2022.



                                       ______________________________
                                       WENDY B. VITTER
                                       United States District Judge
